ClerkConnegt Pgeumenp Viewer 146-MJJ-CBW Document 5-1 Filed bfpa¢lerkconness ipclerktcom/ImageN fower PyigtImage.aspx

 

"Tak Parish :
‘Fited bee 29. 7021 10:89 AM Cc 20216667

 

 

Simone Vaughan i
Deputy Glerkof Court
GIBSON
(7, LAW
PARTNERS
ATTORNEYS AT LAW
December 29. 2021

Honorable Louis J. Perret
Lafayette Parish Clerk of Court
800 South Buchanan St.
Lafayette, LA, 70501-6853

Re Lafayette City-Parish Consolidated Government vy Morbark, LLC, et al
15" JDC, Lafayette Parish

Dear Mr. Perret:

Enclosed herewith for filing on behalf of Lafayette City-Parish Consolidated Government are the
following:

1. Louisiana Crvil Case Reporting Sheet;
2. Petition for Redhibition and Damages;
3. Request for Notice of Trial Date, Ete.

Please file into the court record, forward to the appropriate judge for consideration, serve as
requested. notify me of the dates and types of service and retum a file stamped conformed copy to
the undersigned for completion of my file.

Plaintiff herein is a governmental entity, therefore no court costs are required at this time.

2

 

Alan W. Stewart
Dhreet Dial # 337-761-660
Fax # 337-761-6061 CONFORMED COPY MAILED

Email: michaeladley@gibsonlawpartners.com December 30,2021 KL

Email: alanstewart@gibsonlawpartners.com

Enclosures

 

2448 Johnston Street - P.O. Box 52124 (70505) Lafayette, LA 70503
Telephone: 337-761-6023 Facsimile: 337-761-6061
STAMPED COPY GIVEN

lofl 1/21/2022, 9:04 AM
ClerkConnegt Ageugend View 146-MJJ-CBW Document 5-1 Filed Wupyalepkconpest lpctersfcom/Frgeey forver/Ppiptlmage.aspx

oO" Caayaiie pAREA TTC" BBR Sd RR ES
ified Bee 29, 2024 10:59 AM c 2021 S667 !

I Simone Vaughan i
i Deputy Gtork of Court j
LOWISEANA CIVIL CASE REPORTING
Civil Case Cover Sheet - LA. R.S. 13:4688 and
Part G, §13, Louisiana Supreme Court General Administrative Rules

This civil case cover sheet shall be completed by counsel for the petitioner, counsel's authorized
representative, or by the sclf-represented litigant (if not represented by counsel) and submitted with the
original petition filed with the court. The information should be the best available at the time of filing.
This information does not constitute a discevery request, response or supplementation. and is not
admissible at trial.

Suit Caption:

Lafanette City-Parish Consolidated Marbark, tee , WL. Doggett Lee
Cov ton ener vs. Alba Doseett Machinery Servi ces
moh Cae aryl kar, Fre
Court: | eth wt DS Docket Number: C-20216667

 

 

 

Parish of Filing: [act tog site Filing Date: izf 24 [ Fat

Name of Lead Petitioner’s Attorney: Mir hael ©. Acc Le

Name of Self-Represented Litigant:

 

Number of named petitioners: i Number of named defendants: a

Type of Lawsuit: Please check the categories which most appropriately apply to this suit
(ne more than 3 categories should be checked):

CJAuto: Personal Injury [| Auto: Property Damage
LlAute: Wrongful Death [] Auto: Uninsured Motorist
(Asbestos: Property Damage (J Asbestos: Personal Injury/Death
LJProduct Liability Premise Liability
Efintentional Bodily Injury L_J intentional Property Darmnage
[lintentional Wrongful Death Lj Unfair Business Practice
LiBusiness Tort Fraud
efamation LJ] Professional Negligence
nvironmental Tort Lo Medical Malpractice
[J Intellectual Property (J Toxie Tort
EC] Legal Malpractice Other Tort (describe below)
{_] Other Professional Malpractice Redhibition
{_] Maritime (1 Class action (nature of case)

(_] Wrongful Death
{_}General Negligence

 

Please briefly describe the nature of the Htigation in one sentence of additional detai:
tidlin tla for Worback Uoop Tre Oy cncbe

 

Following the completion of this form by counsel, counsel’s representative, or by the self-represented
litigant, this document will be submitted to the Office of the Judicial Administrator, Supreme Court of
Louisiana, by the Clerk of Court.

Name, address and contact information of person completing farm:

Name M } chao p Alen Signature
Address 2UU@ “adhesion Ge, Led ragttre LA “TOGOS
Phone number: BSt-Jlet-LbozS email address: michaeladley@ Gioconlanpariners. Cor

Lofl 1/21/2022, 9:03 AM
ClerkConnegt Pagumenp Vigwejg146-MJJ-CBW Document 5-1 Filed bf sleskeonmect pokerhycom/ fmgaeMjgyer Paintimage.aspx

co Lahaye PERE "= BAST SRSS
Filed Dec 29, 2024 10:59 AM c 2021 6667 :

i Simone Vaughan i
(Depry Ctork of Court i

LAFAYETTE CITY-PARISH DOCKET NO.
CONSOLIDATED GOVERNMENT

15TH JUDICIAL DISTRICT COURT
Vv.

PARISH OF LAFAYETTE
MORBARKE, LLC, W. L. DOGGETT, LLC
dbf DOGGETT MACHINERY SERVICES .
and CATERPILLAR, INC. STATE. OF LOUISIANA

sae ee eee shee ste sc fir eile ike oi ale se he te se ake ie i he aie ae ie ake de ae ale eae aio ar fet hc fie ie kee chee ate ke she tele le ake ake Be ir Re ir ae ee she ale ale tee eRe ate oe ale le ke

PETITION FOR REDHIBITION AND DAMAGES

 

NOW INTO COURT, through undersigned counsel. comes Plamuff, LAFAYETTE CITY-
PARISH CONSOLIDATED GOVERNMENT (hereinafter “LCG")}, who avers as follows:
Defendants
lL.
Made Defendants hercin are:

a. Morbark, LLC @Morbark”), 2 foreign limited liability company with its principal
business establishment in Louisiana located at 501 Louisiana Avenue Baton Rouge,
Louisiana 7O8G2.

b. WLL. Dosget, LLC d/b/a Boggett Machinery Services, LLC (*Dogget™}, a foreign
limited liability company with its principal business establishment in Louisiana located at
1011 Baradele Avenue, Baton Rouge, L.A 70816,

ce. Caterpillar, Inc. (*CAT"} a foreign business corporation with its principal business
establishment in Louisiana located at 501 Louisiana Avenue Baton Rouge, Louisiana

FOS02.

Factual Background
2.

On or about July 6, 2020, LCG purchased a Morbark 1100 Tub Grinder (hereinafter “Tub
Grinder”) from Doggett for $680,000.00. The Tub Grinder was manufactured by Morbark. Its
engine was manufactured and supplied by CAT.

3.
Doggett delivered the Tub Grinder to Lafayette, Louisiana, on or about July 6, 2020.
4.
LCG intended to use the Tub Grinder to compost yard waste dropped off by Lafayette

Parish residents. LCG receives revenue for cach cubic yard of yard waste received.

1 of 5 1/21/2022, 9:05 AM
ClerkConnegt Resumen Yig9G0146-MJJ-CBW Document 5-1 Filed 047 2/elerbconnert ipclert-cpm/imeageyiower/Frigtimage.aspx

5.

Since July 6, 2020, LOG has experienced (and continues to experience) numerous
problems with the Tub Grinder, including but not limited 10 malfunctions with the Tub Grinder’s
engine belt, belt wheel assembly, motors, torque limiter sensors, hydraulic hoses, grinding tips,
muts, bolts, welds, seals, rubber gaskets, alternator, fan assembly, deflector shield, ACC compressor,
AC dryer, main monitor, and engine,

6.

LCG provided notice to Defendants of these problems. Defendants attempted repairs to

the Tb Grinder on numerous occasions to no avail, most recently an October 7, 2021.
7.

LG incurred costs and expenses attempting to fix/repair these problems with the Tub
Grinder.

&.

Because these problems have rendered the Tub Grinder inoperable, LCG had to rent a
replacement Tub Grinder on multiple occasions at LCG"s own cost.

2.
LCG lost revenue whenever the Tub Grinder was inoperable.
Warranty Against Redhibitery Defects
10.

LCG adopts and re-urges the allegations and information contained in Paragraphs 1-9
above.

li.

Pursuant to Louisiana Civil Code article 2520, Defendants breached the warranty against
redhibitory defects and are Hable jointly and in solide,

12.

The above-cited problems with the Tub Grinder are redhibitory defects that render the Tub
Grinder useless. The defects also make use of the Tub Grinder so inconvenient that LCG would
not have purchased the Tub Grinder had it known of the defects.

13.
These redhibitory defects existed at the time of manufscture and delivery of the Tub

Grinder to LOG.

20f5 1/21/2022, 9:05 AM
ClerkConnegt Resumend YigeO146-MJJ-CBW Document 5-1 Filed btp2/ckrkconpers pcerscpmy/imageigyer/byigtimage.aspx

y4.

These redhibitory defects were not knawn to LCG at the time ofthe sale of the Tub Cirinder,

nor could the defects have been discovered by LOG prior to the sale.
13,

Beeause of these redhibitery defects, LCG is entitled to obtain rescission of the sale of the

Tub Grinder pursuant to Louisiana Civil Code article 2520.
16.

Because Defendants were unable to repair or remedy the redhibitory defects, LOG is
entitled to a return of the purchase price of the Tub Grinder with interest pursuant to Louisiana
Civid Code article 24531.

17.

LCG is aiso entitled to reimbursement for the reasonable expenses occasioned by the sale
and the costs it incurred to preserve the Tub Grinder, including expenses LOG incurred in
maintaining, repairing, and/or attempting to repair the Tub Grinder pursuant to Louisiana Civil
Code articic 2531 as well as all damages provided for by Louisiana Code of Civil Procedure articic
2545, including but not Hrnited to lost profits and attorncy’s focs.

Breach of the Warranty of Fitness
18.

LOG adopts and re-urges the allogations and information contained in Paragraphs 1-17
above,

19,

Pursuant to Louisiana Civil Code article 2524, Defendants also breached the warranty of
fitress and are liable jointly and in solide.

20,

Because of the above-mentioned problems, the ‘Tub Grinder was not reasonably fit for its
ordinary use.

21.

The Tub Grinder was also not At for LOCG's intended use or particular purpose. Defendants
knew both LCG's intended use and particular purpose of the Tub Grinder, and LCG relied upon

Defendants in selecting the Tub Grinder.

3 0f5 1/21/2022, 9:05 AM
ClerkConnegt Beeumenbd Yigwey9146-MJJ-CBW Document 5-1 Filed Wty aleckzonpestlactersfcom/InggeMiowgr/ Paptimage.aspx

22.
Accordingly, Dcfendants is liable to LCG for the following damages:
(a) reimbursement of the purchase price of the Tub Grinder, plus interest;

(b) costs and expenses incurred in repairing and/or attempting to repair the Tub Grinder
(past, present, and future};

{c} costs and expenses incurred in renting replacement Tub Grinders (past, present, and
future}; and

fd} lost revenue resulting from inoperation of the Tub Grinder (past, present, and future}.

Warranty Against Hidden Defects
23.
LCG adopts and re-urges the allegations and information contained in Paragraphs 1-22
above,
24.
Pursuant to Louisiana Civil Code article 2475, Defendants arc liable to LCG, jointly and
in solido, because these defects in the Tub Grinder were hidden from LCG.
25.
Accordingly, Uefendants are liable to LCG for the following damages:
(a} reimbursement of the purchase price of the Tub Grinder, plus interest;

(b) costs and expenses incurred in repairing and/or attermpting to repair the Tub Grinder
(past, present, and future};

(c} costs and expenses incurred in renting replacernent Tub Grinders (past, present, and
future}; and

fd} lost revenue resulting from ineperation of the Tub Grinder (past, present. and. future}.
Legal Interest and Costs
26,
LCG adopts and re-urges the allegations and information contained in Paragraphs 1-25
above.
27.
LCG requests legal interest from the date of judicial demand and all costs of these
proceedings.
WHEREFORE, premises considered, Plaintiif, LAFAYETTE CITY-PARISH

SONSOLIDATED GOVERNMENT (LOG), respectfully prays for the following:

4 of 5 1/21/2022, 9:05 AM
ClerkConnget-Rocumens Hiewse)146-MJJ-CBW Document 5-1 Filed Ottp2’clstsconnget dp ler .gom fines Hip wer Printimage.aspx

{a} that Defendants be served with this petition and be duly cited to appear and answer

these allegations:

(b} that, after due proceedings are had, judgment be rendered in favor of LCG and against
Defendants, jointly and in solido, for the following:

ghee

rescission of the sale of the Tub Grinder, with interest to be paid to LCG;
areasonable amount of damages to be fixed by the Court:

attorneys’ fees;

legal interest from the date of judicial demand until paid: and

all costs of court for these proceedings; and

{c} for all general and equitable relief deemed proper in the premises.

PLEASE SERVE:

WW. L. DOGGETT, LLC
Through registered agent:

CT CORPORATION SYSTEM
3867 Plaza Tower Dr.

Baton Rouge, LA 70816

MORBARK, LLC

Through registered agent:

CT CORPORATION SYSTEM
3867 Plaza Tower Dr.

Baten Rouge, LA 7FOR16

CATERPILLAR, INC.
Through registered agent:
Corporation Service Company
301 Louisiana Avenue

Baton Rouge, LA 70802

Sof 5

Respectfully submitted,

 

 

MICHAEL ©. ADLEY (#37009)
ALAN WW. STEWARD (#34107)
2448 Johnston Street! 033

Post Office Bax 32124

Lafayctte, LA 70505

Direct [Mal: 337-761-6033

Facsimile: 337-761-6061

Email: michasiadley@icibsoniaw ners.com
Email: glanstewart@jpibsonlawpartners.com
Attorneys jor plaintiff Lafayerte City-Parish
Consolidated Government

1/21/2022, 9:05 AM
ClerkConnegt Beeumend Vigwejo146-MJJ-CBW Document 5-1 Filed BP Plppseonmegtlpcterscom/Imgee Mewar Pyptlmage.aspx

C-202 16667"

~™ Catayetia Pare"
Pike Bes 29, 2021 10:58 AM
| Simone Vaughan

i Deputy Clerk of Court ;

LAFAYETTE CITY-PARISH DOCKET NO.
CONSOLIDATED GOVERNMENT

15TH JUDECIAL DISTRICT COURT
¥,

PARISH OF LAFAYETTE
W. L, DOGGETT, LLC d/b/a DOGGETT
MACHINERY SERVICES STATE OF LOUISIANA

 

REQUEST FOR NOTICE OF TRIAL DATE, ETC.

PLEASE TAKE NOTICE that MICHAEL O. ADLEY and ALAN W. STEWART,
attorneys for plaintiff Lafayette City-Parish Consolidated Government, do hereby request written
notice of the date of trial of the above matter, as well as notice of all hearings (whether on merits
or otherwise}, orders, judgments and interlocutory deorces. and any and all formal steps taken by
the parties hercin, the Judge or any member of the Court or Clerk of Court's office, as provided in

Louisiana Code of Civil Procedure Articles 1572, 1913 and 1914.

Respectfully submitied,

GIBSON LAW PARTNERS, LLC
Attorneygat L.

  
   

 

MICHAEL ©. ADLEY4#37009)
ALAN W, STEWARTA(43 4107)
2448 Iohnston Street j
Post Office Box 5212
Lafayette, LA 70505
Direct Dial: 337-761-6033

Facsimile: 337-761-6061

Email: michacladicy(@iibsonla riners.com
Email: slanstewart@ipibsonlawpariners.com
Attorneys for plaintiff Lafayette Ciy-Parish
Consolidated Government

 

 

l of 1 1/21/2022, 9:05 AM
ClerkConnegtdagsumenp Nigugn146-MJJ-CBW Document 5-1 Filed Otty2/e}erbcormmensipceri¢ com jimage Vig ypr/Rymtlmage.aspx

Lafayette Parish , aIY2++ S667
Filed Jan 18, 2022 3:43 PM G 2021 6667 :
Simone Vaughan
Deputy Clerk of Court
‘E-File Recelved Jan 18, 2022 3:17 PM

FIFTEENTH JUDICIAL DISTRICT COURT
PARISH OF LAFAYETTE
STATE OF LOUISIANA
CIVIL ACTION NO. 2021-6667 DIVISION “I”
LAFAYETTE CITY-PARISH CONSOLIDATED GOVERNMENT
VERSUS

MORBARK, LLC, W.L. DOGGETT, LLC d/b/a DOGGETT MACHINERY SERVICES and
CATERPILLAR, INC,

 

 

FILED DEPUTY CLERK

NOTICE OF REMOVAL OF CASE TO FEDERAL COURT
Defendant, CATERPILLAR INC. (“Caterpillar’), hereby gives notice that on January 138,
2022, Caterpillar filed a notice of removal of this case from this Court to the United States District

Court for the Western District of Louisiana. See Removal Notice, attached as Exhibit “1.*

ésf Deirdre CC, McGii:

Deirdre C, McGlinchey (24167) (TA)
dmevlinchey@meglinchey.com
Patrick J. O' Cain (20993)
pocain@meglinchey.com

Farren L. Davis (38714)
fdavis@meglinchey.com

McGlinchey Stafford, PLLC

601 Poydras Street, Floor 12

Wew Orleans, Louisiana 70130
Telephone (504) 586.1200

COUNSEL FOR CATERPILLAR INC,

lofl ; 1/21/2022, 9:05 AM
ClerkConngofagcumont Vig9)146-MJJ-CBW Document 5-1 Filed Gttpz‘tlorkcomnge}dpqlerg¢om/lmpage Migw ex/Pripalmage.aspx

1 of 1

Lafayetie Parish
Filed Jan 18, 2622 3:63 PM
Simone Vaughan
Deputy Clerk of Court

E-File Received Jan 18, 2022 3:17 FM

C-2024 6667°

CERTIFICATE OF SERVICE

Lhereby certify that a copy of the above and foregoing pleading has been served on:

Michael ©. Adiey, Esq.

michseladie ibsonlawpartyers.c

Alan W. Stewart, Esq.
Jansrewarr@elbsoniawparmers,

Gibson Law Partners, LLC

2448 Johnson Street (70503)

B.C. Box 532124

Lafayette, Louisiana 70505

COUNSEL FOR PLAINTIFF

Paul M. Lavelle, Esq.
plavelle@cotrenschmidt.com

Sarah P. Reid, Esq.
sreid@ecotlenschmidt.com

Cotton Schmidt, LLP

650 Poydras Street, Suite 1950

New Orleans, Louisiana 76130
ATTORNEYS FOR MORBARE, LLC

Andre deLaunay, Esq.

andre delaunavi@idorgett.com

9113 North Frecway

Houston, Texas 77037

GENERAL COUNSEL FOR W.L. DOGGETT, LLC

by “e-mail” and by depositing a copy of same, postage prepaid and duly addressed, in the 1.8.

Mail, this January 19, 2022.

sf Deirdre C. MeGlineheyv
DEIRDRE C. MCGLINCHEY

1/21/2022, 9:06 AM
ClerkConness Bacguree! MEWO146-MJJ-CBW Document 5-1 Filed O&tp/peskeqnpggélrlersicony lngees jierer/Pygtimage.aspx

I of 4

_, S488 6:22 -c-00146 Document] Filed 01/18/22 Page Loft5 PagelDb a: 4

" Lafayatia Parish .
Filed jan 18, 2022 3:53 Pet c 2021 6667

Simone Vaughan
Deputy Clark of Court
E-File Received Jan 18, 2022 3:47 PM

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA
LAFAYETTE DIVISION

LAFAYETTE CITY-PARISH
CONSOLIDATED GOVERNMENT

CIVIL ACTION NO:

VERSUS JUDGE:

& Y &£ HF

4

MORBARK, LLC, W.L. DOGGETT, LLC
d/b/a DOGGETT MACHINERY SERVICES
and CATERPILLAR. INC.

MAGISTRATE JUDGE:

%

Ske ERR eR ERR ERE HR EEE ES EE

NOTICE OF REMOVAL

TO: United Stares District Court
Western District of Louisiana

Pursuant to 28 U.S.C. $$ 1332 and 441, defendant, CATERPILLAR INC. (“Caterpillar”)
(erroneously identified in the plaintiffs “Petition for Redhibition and Damages” as “Caterpillar,
Inc."}, hereby gives notice of its removal of this civil action from the Fifteenth Judicial District
Court for the Parish of Lafayette, State of Louisiana, Civil Action No. 2021-6667, to the United
States District Court for the Western District of Louisiana,

L

Plaintiff filed its “Petition for Redhibition and Damages” in the Fifteenth Judicial District
Court for the Parish of Lafayette, State of Louisiana, on December 29, 2021. A copy of plaintiff's
petition is attached to this notice as Exhiiit “A.”

iL
Caterpillar, through its registered agent for service of process, was served wath plaintili’s

petition on January 4, 2022,

1/21/2022, 9:06 AM
ClerkConnecs Dacunpent Miewe146-MJJ-CBW Document 5-1 Filed Ofte ¢terkcqnpgeplpchensoom/ImageViewe/Pyptlmage.aspx

2 of 4

Case 6.22-cv-00146 Document Filed 01/18/22 Page 2of5 PageiD # 2

Morbark, LLC, through tts regtstered agent for service of process, was served with
Plaintiff's petition on January 4, 2022.

W.L. Doggett, LLC, through its registered agent for service of process. was served with
plaintiffs petition on January 4, 2022,

Accordingly, this Notice of Removal is filed within the time period prescribed by 28 U.S.C.
§1446(b). See, Yu-Wen Chia v. Lincoln, 2018 WL 4205423 (ELD. La. 9/4/18) (citing Muarpiy
Bros. Inc. vy. Michetti Pipe Stringing, Ine, 326 U.S. 344, 347-48 (1999) (“defendant's time to
remove is triggered by simultaneous service of the summons and complaint. or receipt of the
complaint, through service or otherwise, afler and apart from service of the summons, but not by
mere receipt of the complaint unattended by any formal service”).

It.

The action is one of a civil nature that alleges the liability of Caterpillar, Morbark, LLC:
and WLL. Doggett, LLC, to plainusf.

WV.

The matter in dispute reasonably appears to seek damages m excess of sevenry-five
thousand dollars, exclusive of interest and costs. Plaintiff secks to rescind the sale and recover the
purchase price of a piece of machinery whose alleged purchase price was 5680,000.00. Plainti®
also seeks to recover damages and attorney fees. See Exhibit “A” (petition).

Vv.

Plaintiff, Lafayette City-Parish Consolidated Government, is a Louisiana municipal

corporation and a citizen of the State of Louisiana.
VI

Caterpillar Inc. is a Delaware corporation with its principal place of dusiness in Illinois.

1/21/2022, 9:06 AM
ClerkConnectagcument Yiewst)146-MJJ-CBW Document 5-1 Filed Ottpetlerkcomnges dpqlerla rom lmagg Migy ey/Prippimage.aspx

3 of 4

Case 6:22-cy-00146 Documenti Filed 0148/22 Page 3of5 PagelDe 3

Morbark, LLC is a Michigan limited liability company whose sole member is Alamo
Group (USA) Iac.. a Delaware corporation with its principal place of business in Texas.
W.L. Doggett, LLC is a Texas limited liability company whose sole member is Mr. Wa,
Leslie Doggett, Sr. a citizen of Texas.
VIE
Complete diversity of citizenship therefore exists between the plaintiff and all named
defendants.
Vil
As indicated by the Notices of Consent, attached to this pleading, both Morbark LLC and
W.L. Doggett, LLC consent to the removal of this case to federal court. See Exhibit “B” (notice
of consent signed by Andre Delaunay. general counsel for W.L. Doggett. LLC: and notice of
consent signed by Paal M. Lavelle. counsel for Morbark, LLC). The requirements of 28 U.S.C.
1446(B}(2}(A) have thus been satisfied, in that “all defendants who have been properly joined and
served ... consent to the removal of the action.”
IX.
This matter is removable pursuant to 28 U.S.C. $1332 and 28 U.S.C. $1441.
WHEREFORE, Caterpillar Inc. gives notice of removal of the above captioned case from

state court to this Court.

1/21/2022, 9:06 AM
ClerkConnecs Decgarent Me 146-MJJ-CBW Document 5-1 Filed O4tfp-(/¢leskcqnpggplpglensjcouy IngegMigyver/Poigtimage.aspx

4 of 4

Case 6:22-cy-00146 Document Filed O1/1S/22 Page 4 of 5 PagelD a 4

fsf Deirdre C. McGlinchey

Deirdre C. McGlinchey (24167) (TAG
dmeglinchey@meglinchey.com
Patrick J. O'Cain (20993)
pocain@meglinchey.com

Farren L. Davis (38714)
fdavis@meglinchey.com

McGlinchey Stafford, PLLC

60[ Poydras Street, Floor 12

New Orleans, Louisiana 70130
Telephone (5045 386.1200

COUNSEL FOR CATERPILLAR INC,

1/21/2022, 9:06 AM
ClerkConneepRecgmnent Vigiers146-MJJ-CBW Document 5-1 Filed Gitpéyerkcommegidpe srs pona/Imagey i pyar Prag Image.aspx

Case 6:22-cy-001465 Document] Filed 01/18/22 Page ScfS PagelDs: 5

Lafayette Parish - *
Filed Jan 48, 2027 2:53 PRY C 20216667

Simone Vaughan.
' Deputy Clerk of Court :
E-File Received Jan 18,2022 909 PM ane

CERTIFICATE OF SERVICE
Thereby certify that a copy of the above and foregoing pleading has been served om:

Michael Q. Adley, Esq.

thichucladley@ cibsonlawpartners.com.
Alan W_ Stewart, Esq.

alanstewarn © ribsanlew partners com
Gibson Law Partners, LLC

2445 Johnson Street {70503}

P.O. Box 52124

Lafayette, Louisiana 70505
COUNSEL FOR PLAINTIFF

Paul M. Lavelle, Esq.

pltvelle @cottenschmilt.com

Sarah P. Reid, Esq.

sii @ cokenschmigt corn

Cotton Schmidt, LLP

650 Poydras Street, Suite 1950

New Orleans, Loutsiana 70130
ATTORNEYS FOR MORBARK, LLC

 

Andre deLaunay, Esq.

aodre delaunay @ dooser com

S111 North Freeway

Houston, Texas 77037

GENERAL COUNSEL FOR W.L. DOGGETT, LLC

by “e-mail” and by depositing a copy of same, postage prepaid and duly addressed, in the U.S.
Mail, this January 18, 2022.

ésf Deirdre C. MeGlinchey
DEIRDRE C. MCGLINCHEY

lofl 1/21/2022, 9:06 AM
ClerkConngct acumen -Vigug0146-MJJ-CBW Document 5-1 Filed @itpyitlscomget dpglerky popu tage Kiqy ep/Printimage.aspx

Case S6i22-cv-00146 Docurnent 1-1 Filed QlVis/e? Page i of 2 PageiD 2: 6

844 Rev.) CIVIL COVER SHEET

The JS 4a. chvil cover sheet and ths informacion contained herein neliher replaos nor supplement the ling and servier of plcadings or cdher papers a3 requited by law, cxoept es
provided by local neies of court. "This form, approved by the Judieiad Canference-of the Unined Stetes ia September 1974, is required for the use of the Clerk of Court for the
purpese of mittialing the cwil deckersheet EE JNNTALACTIONS ON MENT PAGE OF THIS FORMED

 

 

 

 

 

 

 

        

 

  
 
        
 

 

 

 

 

      

 

 

 

 

 

 

I. (a) PLAINTIFES / DEFENDANTS
Lafayette City-Parish Consolidated Government Morbark, LLC; VL. Doggett, LLC; Caterpillar Inc.
fb) Coumy of Residence of Pim Listed Pani? Lafayette Patish LA | Condy ofResidenccof First Listed Defendam Isabella County, Ml
(EXCEPT IN US. PLAINTIEF CASES} GIN US. PLAINTIEF CASES ONLY}
NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,
(t)} Attotneys (Firm Name, Andress, aru! Telephone Number} | Altorneys {i Krowg?
See attachment | See attachment
Ti. BASIS OF JURISDICTION (Place at +X” ie One Sexe Ord HEL CITIZENSHIP OF PRINCIPAL PARTIES glace sn 7 :tn One Sox for Plainly
(For Diventiy Comms Ougy ” and hae Br fir
E) 03, Government (Js Pedant Question PIF DEF CTF DEF
Plaine AES. Goverment Not o Fary] Ciizon of This Stare Blt C1 beopemedorPrimiped ee =[] 4 [le
of Bostnest In This State
(J US. Goverment FE Diversity ChteenefAnekersom oC ]2 (EE 2 incopomidend Pinca Pie [J 3 (5
Credited Aindigone Caiamauship ay Parnes in Trem it} of Busters Ih Anpdher Sone
Chines or Subject of (Cs (22 Feriga Melon Cie Ele
apr C onion
TV, NATURE OF SUIT piss om -2” ia Cine Box Cnty) . Dt
Ton CON ERACT o£ Pea ro atthe ee TERE SSP ea ete e] SPORFELILUREPENALTY * 00,5s
110 tearaness PERSONAL INJURY PERSONAL INSURY  []62S Oyug Related Scizue S32 Appeal 16 USC 158 375 Falee Cteies Act
120 Marine JIG Airplane ((]. 365 Personal [ejury - of Property 2] USC 88] 423 Withdrawal 376 Qui Teen GH USC
130 Miller Act 315 Airpinne Product Produet Liakiliy = 1] 69 Cher
140 Negatlatle Inetrsenent Lisbaliy {7} 357 root Cares
150 Recovery of Crerpayenent |) 220 Assault, Libel & 5
& Endiecement of hudgresct Slander Pesronal injury
$53 Mediewe Act 300 Federel Employnrs” Producs Linkin
1S? Rerovecy of Defauited Liability (7 368 Asbestes Peon
Sragens Loss AQ bigrine efuny Prodoss
(Excludes Vereen) MS Marine Product Linkéliny
(0) 553 Recovery of Overpayment Liability PERSONAL PROPERTY [o2piu 22 ft 480 Conmanex Ceedit _
of Veteran's Benefit 39) Muar Vebiele 370 Osher Fraud (33 USC 188) of 1672}
160 Stogkhatders’ Sail 453 Motor Vebicle 371 Teatb ie Leading Ja] 48s Telephone Conner
196 Otrer Conseaet Product Liahikiy 320 Crther Perannal RENAE ee woo reason
195 Conteet Prodnet Linbi 360 Other Peranel Propony Demage Reetatigcis 1 ; j ; ;
198 Franchise " z H ED) S85 Property Damage 340 Rabbegy Laber Act te awe anor cata) (} 890 SemmtionConumodilies!
$7) 382 Porronad injny + Produms Lishi ES) Farcily ant éedicat 363 GIWODE j Exchsage
= Peieanpriens i ny eae Bet SSID Title XVE j 390 Dies Stevtry Aetooe
eae PT CIV II RIGHTS "io | PRE BETIEIONS <| [750 ticker Labor Litigation BES RSLLAESg)} S91 Agrieuinal Ace
210 Lend Cedensution @X0 Other Ciel Rights Fisbeax Corpor |_| 791 Employes Retirement 493 Baviroemameal Maren
220 Forsclosure 44) Veeing, 7) 483 Alion Detatnne Jnewene Socurity Ass B95 roster of afore
230 Rent Leave & Ejectrecnt 442 Emplonacnt ; | $15 Meabang 30 Vecate i
260 Taste to Land fi 483 Hoosing! or Defendant} 496 Arbirmion
245 Ton Produc: Lichiity = [| Aecoemmadations $30 Generat S99 Adminiersdve Procecore
0 All Outer Real Propemy |} 405 Amex. widisabititien -7 | $34 Deeth Peasy ore And Review or Appel of
F Emiploveness Otber: at Bi Palieats Agency Decisiog
[7] cas Amer. aDisab@ltics ~] ] 540 handamus & Gcher | }465 Osher bumsigeaton [J 950 Constinsticnatity of
; Onber $50 Givi Raghes Acces State Sutuice
[| 44 Edpeanion. $55 Pelesa Condition
$60 Civil Domine ~
: Condisoas of

 

 

 

 

 

 

VY. OREGIN (Pine on 8X or One Bex Only _
(Origins [2 Removed fem 1 3 Remanied fom Cpa Reinsiaedor [7] $ Tnmsieeed fam 6 Multdisrias C2 Maledisricr

 

ned Another Distt Litigation « Litigetion =
Proceeding Stare Court Appellae Court Reape Uiiesee Ligaen
Cite the 0.5, Ciel Stantecunder which you are Bing ‘(ba not ofte jorizedictiomal penetes ales dfeersinn®
48 USC. 1982

 

 

VL. CAUSE OF ACTION Bisasrimier of css
ecnibtontreach of waranty aise wating mocknary

 

 

 

 

 

 

 

 

VIC, REQUESTED IN [] CHECK EFTHISISACLASSACTION = TEMANDS CHECK YES only if demanded in complaint
COMPLAINT: UNDER RULE, ERCWP. >S5R0000.00 JURYDEMANE: — C)vss CNo

VEL RELATED CASES)

YE ANY See innertentfovisj? UDGE DOCKET NUMBER

“BATE SNATURE oF F y

Uf /afet 7, Ly
FOR cE ONLY Wee a f
RECEPT A AMOUNT APPLYING [FP j E MAG. UGE

TT

 

Lofayete Parish - :

Filed Jar 1%, 202% 3:53 PM c 202) 6667 :
Simone Vaughan :

. .Beputy Clerk.of Gourt 20... we ee wee ae th a eee
E-File Recelved Jan 38, 2022 3:17 PM

1 of 9 1/21/2022, 9:06 AM
ClerkConneg Rocyment MEW 46-MJJ-CBW Document 5-1 Filed Obfp:/perkcqnaesalycterscom/fmage iower Paintimage.aspx

Case 6:22-cv-00146 Document i-1 Filed 01/18/22 Page 2 of 2 Pagel #: 7

ATTORNEY LIST

Michael 0. Adley

michaeladie ibsonlawpartners
Alan W. Stewart
alanstewart@cibsonlawparmers.com
Gibson Law Partners, LLC

2448 Johnston Street {70503}

P.G. Box 52124

Lafayetic, Louisiana 70505
Telephone (337) 761.6033
ATTORNEYS FOR PLAINTIFF,
LAFAYETTE CITY-PARISH CONSOLIDATED GOVERNMENT

Deirdre C. McGlinchey
dmicolinchey/@mecolinchey.com
Patrick JL O° Cain
pocain@meslinchey.com
Farren L. Davis
fdavis@meglinchey.com
McGlinchey Stafford, PLLC
601 Poydras Street, Floor 12
New Orleans, Louisiana 70130
Telephone (504) 586.1200
ATTORNEYS FOR CATERPILLAR INC.

Paul M, Lavelle
plavelle@cottenschmidt.com.

Sarah P. Reid

srei trenschmidt.corm

Cotton Schmidt, LLP

650 Poydras Street, Suite 1930

New Orleans, Louisiana 76130
Telephone (504) 568.9393
ATTORNEYS FOR MORBARK, LLC

The attorneys who will be representing W.L. Doggett, DLC are not yet known,

2 o0f9 1/21/2022, 9:06 AM
ClerkConngot decent VigwR)146-MJJ-CBW Document 5-1 Filed Gttp2iserkcopngefdpglery peputl page jy e7/Pramplmage.aspx

ClerkConnect Document Viewer Page | of 5
Case 6:22-cv-00146 Documenti-2 Filed OL/18/22 Page lof5 PageiDbs 3

G-2021 6667:

 
  

~eTaegetie Paria
theet Dee 2S, 2021 face AA
i Serene Voughuere

\.. Sapumy Clerk of Cours

 

LAFAWETVTE CITV-PARISH DOCKET We.
CONSOLIDATED GOVERNMENT

ISTH JUDICIAL DISTRICT COURT
™“.

PARISH OF LAFAYETTE
MORRARR, L410, WE. DOGGETT. EEC
dibfa DOGGETT MACHENERY SERVICES
and CATERPILLAR, INC, STATE OF LOUTSLANA

fe fhe eee hi ote ce steele eae ir pte ce viet phe erie tie Se cl ett le ale a ae elt le at he ae le As as a eee ro he ace,

  
 

a

    
    

PETTON ia } AME
NOW INTO COURT, through undersigned counsel. cores Plante 1.APA YETTE CITY-
PARISH CONSOLIDATED CXYVERNMENT chercinafier °LOG, whe avers as Sitows:
Defendants
te
Made Defendants herein are:

3. Morbark, LIC (“Morbark’} a foreign limited Jiebility company with its principal
business estublishment in Louistana located at 30) JLouisiang Avenue Saran Rouge,
Lonaisiane TORO.

B® WE. Dogmet, LEC afb/a Doggett Machinery Services, LC ¢Dogact™), a forcign
lirnited liability cormmpany with its principal business establishment in Louisiana located at
T1041] Daradele Avenue, Baton Rouge, LA FORT,

co. Caterpiler, fac. COCAT. @ foreign business cerpersion with ts principal business
establishment in Lawisiana located at S01 louisiana Avenue Baton Rouge. Louisiana

TORO.

Factast Backprowund
4
On or about duly 6, 2020, LCG purchused a Morbark [100 Tob Grinder ¢hereinofier “Pub
Grinder”) from Doggett for $680.000.00, The Tub Grinder was manufactured by Morbark, Hs
engine was manufactunes and supplied by CAT.
3.
Dowgen delivered the Tab Grinder te Lafayette, Louisiana, on or about Rely 6, 2020.
4.
Li} intended wr ase the Tub Cirinder to compost yard waste dropped off by Lafayere

Parish residents. LCi roccives revenue for cach cubic yard af yard waste received.

httpsclerkconnect.Ipclerk. com/Image Viewer/PrintImage.aspx 12/30/2021

3 of 9 1/21/2022, 9:06 AM
ClerkConnect-ecymontVipw) 146-MJJ-CBW Document 5-1 Filed @ttpr‘iglerkcopngetdpgier'y pomntlpagey gy ef/Pangimage.aspx

ClerkConnect Document Viewer Page 2 of 5
Case G:22-cv-00146 Document i-2 Filed 01/18/22 Page 2 of 5 PagelD #: 9

5,

Since July 6, 2020, LCG has experienced (and continues to experience} srursecrous
problems with the Tub Grinder, including but not limited t¢ malfunctions with the Tub Grinder’s
engine belt, belt wheel assembly. motors. iarque firsiier sensors, bycraulic hoses. grinding tips,
Guts, bolts, welds, seals. rubber gaskets. aliormuioc, fan assembly. deflecior shicld, AC compressor,
AG dever, main manitor, and engine.

6.

LOG provided notive to Defendants of these problems. Ocfenduantx attempted repair to

the Tub Cirinder on numerous occasions to no avail, mont recemthy an Onteber 7, 2027.
7.

LCG incwred costs and expenses attempting to fix‘repair these problems with the Tub
Grinder.

3,

Beesuse these problems have tendered the Tub Cinder inoperable. L0G had te rent a
replacement Tub Cinder an multiple oveastien: at LCs awe: Gost.

9.
LENG test newer whenever the Tih Grinder was inoperablic.

Warranty

 

ro.

LESG adepis and re-urges the allegations and inforration contained in Paragraphs 1-0
abou,
Ei.
Sorsuant to Laoistana Civil Cocke article 2520, Defendants breached the warranty against
redhibisery defects wd ere tighle Rrinly and in sods.
i.
The above-cited probleris with the Tub Grinder are redhibitary defects that render the Tub
Grinder useless. ‘The detects also make use ol the Tob Grinder so meorvenient drat LOG would
no. hove purctased the Yub Cirinder bad in kncan of the cefects,
15.
These redhibitery defects existed ot the dime of munufielure and delivery of the Tul

Grinder to Loc,

ae

http:/clerkconnect -Ipclerk.com/Image Viewer Printlmage aspx 12/50/2021

4 of 9 1/21/2022, 9:06 AM

 
ClerkConngepRergnszt HP0146-MJJ-CBW Document 5-1 Filed Guttez/igierkconnegidpolerlspona/lmagealigwer/Puntimage.aspx

ClerkConnect Document Viewer
Case 6i22-cv-00146 Documenti-2 Filed 01/98/22 Page 3 of 5 PageiD #:

Ea.

These redhibitory defects were nok foooeen oo LAG at Ube bin of the sake ofibe Tub Cirinder,
nor could the defwers have bean disceverad by LCC prior 1a the sale,

is.

Because of these redhibitory defects, L0G: is entitled i obtain rescission of the sale of ihe
Tub Grinder pursuant io Louisiana Civil Code article 2520.

14.

Because Defendants were ongble to repair or remedy the redhibitory detcets, LOG is
enfitied io a return of the purchase price of the Tob Grinder with Interest pursaint lo Lowisidaa
Civil Code article 2431.

17.

LOG is alsa entivied to reimbursement Jor the reasonable expenses oceasioned by the sale
and the costs it incurred to preserve the Tub Grinder, including expenses LOG incurred in
maintaining, repairing. and/or atiempting to repair the ‘Tub Grinder pursuant to Louisiana Civil
Code uctiche 253 | as well uy all damages provided for by Louisiana Code of Civil Procedure article
2545, irictucling ber met Jimived to lost profils and attorney's fees,

Breach of the Warranty of Fitress
18.

LOG adopts and reurges the allegations und information comtained in Paragraphs '-17
above.

18.

Porsuant to -oniisiang Civil Cade article 2824, Defindant aso brnacheak the wornanty of
fiteess and are able jointly and in solido.

20.

Because of the above-mentioned problems, the Th Grinder was not reasonably fit for its
andinany use.

ai.

The Tob Grinder was also not fil for LOC s Intended use or particular purpose. Defenders

knew both LG's intended use and partiquher purpose of the Tab Gcinder, and (CG celied upon

Defendants im sclecting the Tub Grinder,

http:/‘clerkconnect. Joclerk.com/ImageViewer/Printimage aspx

5 of 9

  

Page 3 of 5

10

12/30/2021

1/21/2022, 9:06 AM
ClerkConneepRerignent Vigan) 146-MJJ-CBW Document 5-1 Filed Cite4glprkconnegidpolerispomm/Imagev gwen! Pomimage.aspx

ClerkComect Document Viewer Page 4 of 5
Case 6:22-¢v-00146 Documernti-2 Filed 01/18/22 Page 4 ofS PagelD #: 11

22.
Accordingly, Defendants is Gable te LC for the lowing, damages:
(a} reimbursement of the purchase price of the Tob Grinder, plus interest;

<b} costs and expenses incurred in repairing and/or aotempting io repair the ‘Tub Grinder
(past, present, amd furare x:

Ce) coats and expenses incurred in renting replacement Tid) Grinders (past. present, and
Fisturc), wend

{d} lost revenue resulting fram inoperaion of the Tub Grinder (past. present. and fature>.

Warrenty Arninst Hidden Defcon.
23,
LOG adopts and re-urges the ullogations and information contained in Paragraphs 1-22.
above.
24.
Pursuant w+ Levisiana Civil Code article 2475, Defendants are Table te LOG. joinuy wad
in solidn, hegausy these defects in the Tab Cirtinder were hidden from LOC.
25.
Accordingly, Defendants are Hable we LANG for the following damages:
fa) reimbursement of the purchase price of the ‘Tub Grinder. plus interest;

(bh) casts and cxpemses incurred in repairing and‘or atiempling te repair the “Pub Grinder
fipast, present, und Tutu):

{c) costs and expenses incurred in renting replacement Tub Grinders (past, present, and
futare’: ard

id} lost revenue resulting from ineperation af the Tab Grinder (past, present. and future).
Legal Enterest and Costs
28.
LCG adopts and re-unges the allegations and infenmation comalned (nm Paragraphs 1-25
above,
27.
LO requesis legal interest from che date of judiciel demand and al) costs of these
proneedings,
WHEREFORE, premises considered, Phintif, LAPAYIITTE CIPFY-PARISH

CONSOLIDATED GOVERNMENT (81.0007), respectfully prays for the following:

httpsclerkconnect.ipclerk. com/Image Viewer/Printhnage.aspx 1230/2021

6 of 9 1/21/2022, 9:06 AM
ClerkConnergBacengnt Wegg146-MJJ-CBW Document 5-1 Filed Otedyterkcomesgplprterscom/Image Viewer Priglmage.aspx

ClerkConnect Document Viewer Page 5 of 5
Case 6:22-cv-00146 Document1-2 Filed Gi 8/ee Page 5of5 PagelD & i2

(4) that Definclanis be served with this petition and be duly cited te appear and answer
these allegations:

th} that, after duc pracecdings are had, judgment be rendered in fever of LOG and agaist
Defendants, jointly and in solide, for the following:

rescissioery of the sate of the Tab Grinder. with toterest to be paid to LC;
amare apioant of damugess ta be fined by the Cow

altormeys” foros;

legal interest from the date of judiciat dermand antil paid, and

all costs of court for these proceedings: and

pape

fe} forall general and ecpittahle releP dcented proper in the promises.

Respectfully subenimed,

CIRSON LAW PARTNERS, LAG 7

MICHAEL ©. ARLE Y (4370004
ALAN W, STEWART (#38707)
24448 Johnston Streets s}

Post Odlice Box 52124

Lafayette, LA T0503

Iptrect Trial: 3 ¥7-767 Hd

Foosimiie: 337 -761+6051

Gmail: michneladien@yihsonkrtiners. com
Brnail: ahonghewart de been lverensrs core
Attarniys for plainilff Lattpetn Ciy- Perish
Corsedidated Gavornmeat

  

 

 

PLEASE SERVE:

WL. DOME TT, Lic
Through vepistered apent:

CY CORPORATION SYSTEM
AG? Plosa Tower Dr.

Baton Rouge, LA FO8is

SERB ARE, LIC

Threat regixeered enevnen

CUP CORPORATION SYSTEM
3867 Plaga Tower Par,

Baton Reuge, LA FOSTG

CATERPILLAR, INC,
Throagh registered ager:
Corparation Service Compurry
S01 Louisiana Awwonae

Praton Rouge, LA FORO2

http:clerkconnect.ipclerk.com/Image Viewer/PrintInmge aspx 12/30/2021

7oft9 1/21/2022, 9:06 AM
ClerkConngepRecgnent Weg 146-MJJ-CBW Document 5-1 Filed Cie4¢lerkcopnggelpperispom/Image Viper Printimage.aspx

Case 6:22-cv-00146 Documenti-3 Filed 01/18/22 Page Loft? PagelD # 13

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA
LAFAYETTE DIVISION

LAFAYETTE CITY-PARISH
CONSOLIDATED GOVERNMENT

CEIVIL ACTION NO:

VERSUS FUDGE:
MORBARK, LLC, W.L. DOGGETT, LLC
d/bfa DOGGETT MACHINERY SERVICES
and CATERPILLAR, INC,

MAGISTRATE JUDGE:

ie
Pa
*
x
*
*
*
*
*
KERR EKR EKER RK ERE SE EK OR ER HK

CONSENT TO REMOVAL

NOW INTO COURT, through undersigned counsel, comes W.L.. DOGGETT, LLC, and

hereby gives notice, pursuant to 28 U.S.C. § 1446(B)(2)(A), that it consents to the removal of this

Ley

General Counsel
ATTORNEYS FOR W.L. DOGGETT, LLC

ease from state court to federal court.

8 of 9 1/21/2022, 9:06 AM
ClerkConngehRecyisnt Migs) 146-MJJ-CBW Document 5-1 Filed Otteiglerkconnggtdpplergpom/lmage viper Prigylmage.aspx

9of9

Case 6:22-cv-00145 Document1-3 Filed 01/18/22 Page 2 of 2 PagelD &: 14

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF LOUISIANA

LAFAYETTE DIVISION
LAFAYETTE CITY-PARISH * CIVIL ACTION NO:
CONSOLIDATED GOVERNMENT *

=
VERSUS « JUDGE:

oe
MORBARK, LLC, W.L. DOGGETT, LLC #
d/b'a DOGGETT MACHINERY SERVICES * MAGISTRATE JUDGE:
and CATERPILLAR, INC. *

&
SSL ER ERR RR KR KEK SE RRM KF

CONSENT TO REMOVAL

 

NOW INTO COURT, through undersigned counsel, comes MORBARK, LLC, and hereby
gives notice, pursuant to 28 U.S.C. § 1446(B}(2)(A), that it consents to the removal of this case

from state court to federal court.

fof Paul Mf Lavelle

Paul M. Lavelle (08134)
nlavelle@icottenschmidt. com
Sarah P. Reid (33310
sreidicottenschmidt.com
COTTEN SCHMIDT, LLP
650 Poydras Street, Suite 1950
New Orleans, Louisiana 70130
Telephone (504} 568.9393
Facsimile (504) $24,1933
ATTORNEYS FOR MORBARK, LLC

1/21/2022, 9:06 AM
